                                                             U.S. Department of Justice
                                                             Civil Rights Division
                                                             NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

VIA EMAIL                                                    150 M Street, N.E.
                                                             Washington, DC 20530

                                                             March 17, 2025


Mr. Troy Hanenkratt
c/o Ted Kapke, Esquire
Law Offices of Kapke & Willerth
3304 NE Ralph Powell Rd.
Lee's Summit, MO 64064

Re: EEOC Charge Against City of Independence, Police Department
No. 28E202301088

Dear Mr. Hanenkratt:

   Because you filed the above charge with the Equal Employment Opportunity Commission, and
more than 180 days have elapsed since the date the Commission assumed jurisdiction over the charge,
and no suit based thereon has been filed by this Department, and because you through your attorney
have specifically requested this Notice, you are hereby notified that you have the right to institute a
civil action under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. 2000e, et seq.,
against the above-named respondent.
   If you choose to commence a civil action, such suit must be filed in the appropriate Court within
90 days of your receipt of this Notice.
  The investigative file pertaining to your case is located in the EEOC St. Louis District Office, St
Louis, MO.
  This Notice should not be taken to mean that the Department of Justice has made a judgment as to
whether or not your case is meritorious.
                                                             Sincerely,

                                                    Complaint Referral Unit
                                                  Employment Litigation Section
                                                     Civil Rights Division




cc: St. Louis District Office, EEOC
  City of Independence, Police Department


         Case 4:25-cv-00424-DGK           Document 1-3       Filed 06/09/25         Page 1 of 1EXHIBIT B
